                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

THE DRAGONWOOD CONSERVANCY, INC.,
PLEGUAR CORPORATION, &
TERRY CULLEN
             Plaintiffs.
vs                                                                   CASE# 16-534

PAUL FELICIAN &
PHIL SIMMERT II
                  Defendants
______________________________________________________________________________

         PLAINTIFFS MOTION FOR (PARTIAL) SUMMARY JUDGMENT
______________________________________________________________________________

           NOW COME PLAINTIFFS by undersigned counsel, and respectfully move the court for

(partial) Summary Judgment in their favor and against Defendants -on the issue of liability, only-

pursuant to FRCP 56 and other legal authority; for the reasons stated in the attached Brief in

Support, and in Plaintiffs’ Proposed Findings of Fact, submitted herewith.

           WHEREFORE PLAINTIFFS request the court to grant (partial) summary judgment in

their favor and against Defendants, and each of them, on the issue of liability, only



Date: October 1, 2020
/s/ electronically signed by


 Attorney Mark P. Murphy
SBN 01017745
Attorney For Plaintiffs
657 S. 72nd Street
Milwaukee, WI 53214
414-453-5555
414-453-5520 fax
attorneymarkmurphy@sbcglobal.net




               Case 2:16-cv-00534-NJ Filed 10/01/20 Page 1 of 1 Document 116
